                Case 3:20-cv-03866-JCS Document 10 Filed 06/15/20 Page 1 of 2
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             Attorneys for Defendant
           CITY OF OAKLAND
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                                UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA
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                                       SAN FRANCISCO DIVISION
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          ANTI POLICE-TERRO PROJECT,                   Case No. C 20-3866 JSC
             COMMUNITY READY CORPS, et al.
                                                       STIPULATION RE TEMPORARY
                            Plaintiffs,                   RESTRAINING ORDER
                                                       APPLICATION; [PROPOSED]
                   v.                                     ORDER
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             CITY OF OAKLAND, et al.
   
                            Defendants.
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                  Pursuant to Local Rule 7-12, Plaintiffs and the City of Oakland respectfully
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           submit this Stipulation and Proposed Order.
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                  1.    On June 13, 2020, Plaintiffs served the Verified Application for a
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           Temporary Restraining Order and Class Action Complaint for Damages and Injunctive
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           and Declaratory Relief, Dkt. No. 1, on the City of Oakland.
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                  2.    Plaintiffs will supplement their TRO application by June 17, 2020.
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                  3.    If the Court issues an Order to Show Cause, the City will submit its
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           response to the TRO application by June 24, 2020.
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                  4.    The matter will not be heard on June 24, 2020.
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                 5.    This stipulation may be modified with the Court’s consent if a party
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          deems it necessary to do so as a result of unfolding events in Oakland.
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                 SO STIPULATED.
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          Dated: June 15, 2020                       Respectfully submitted,
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                                                BARBARA J. PARKER, City Attorney
                                             DAVID A. PEREDA, Special Counsel
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   
                                         By:    _______/s/ David Pereda___
                                             Attorneys for Defendant
                                                CITY OF OAKLAND
   
                                               DAN SIEGEL
                                            SIEGEL, YEE, BRUNNER & MEHTA
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                                      By:      /s/Dan Siegel
                                                Attorneys for Plaintiffs
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          PURSUANT TO STIPULATION, IT IS SO ORDERED.
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          Dated: June 15, 2020                       ______________________________________
                                                        JOSEPH C. SPERO
                                                     Chief Magistrate Judge
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           *Per Local Rule 5-1(i)(3), the filer attests that concurrence in the filing of the
              document
                        has been obtained from each of the other Signatories
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